                            NOT FOR PUBLICATION                            FILED
                    UNITED STATES COURT OF APPEALS                         AUG 27 2024
                                                                       MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                            FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                        No. 23-4029
                                                 D.C. No.
             Plaintiff - Appellee,               3:14-cr-00369-W-1
 v.
                                                 MEMORANDUM*
TYRELL LEWIS,

             Defendant - Appellant.

                    Appeal from the United States District Court
                      for the Southern District of California
                    Thomas J. Whelan, District Judge, Presiding

                            Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Tyrell Lewis appeals from the district court’s judgment and challenges the

revocation of his supervised release and sentence of four months’ imprisonment

and four years’ supervised release. Pursuant to Anders v. California, 386 U.S. 738
(1967), Lewis’s counsel has filed a brief stating that there are no grounds for relief,


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
along with a motion to withdraw as counsel of record. We have provided Lewis

the opportunity to file a pro se supplemental brief. No pro se supplemental brief or

answering brief has been filed.

      Our independent review of the record pursuant to Penson v. Ohio, 488 U.S.

75, 80 (1988), discloses no arguable grounds for relief on direct appeal.

      Counsel’s motion to withdraw is GRANTED.

      AFFIRMED.




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